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      1
                                   UNITED STATES DISTRICT COURT
      2
                                  SOUTHERN DISTRICT OF CALIFORNIA
      3
      4 UNITED STATES OF AMERICA,                                      '22 MJ03309
                                                           Case No.:
      5                                 Plaintiff,
                                                           COMPLAINT FOR VIOLATION OF
      6
                V.
      7                                                    Title 21 U.S.C. §§ 952 and 960
                                                           Importation of a Controlled Substance
      8 Chance Lyedale JOHNSON,                            (Felony)
      9                             Defendants.
    10 H - - - - - - - - - - - - - - - ~
           The undersigned complainant being duly sworn states:
    11

    12                                                    COUNTl
    13
                On or about September 11, 2022, within the Southern District of California, Chance
    14
          Lyedale JOHNSON did knowingly and intentionally import a mixture and substance
    15
    16 containing a detectable amount of methamphetamine, a Schedule II Controlled Substance,
    17
          into the United States from a place outside thereof, in violation of Title 21, United States
    18
    19 Code, Sections 952 and 960.
    20
    21                                                    COUNT2

    22          On or about September 11, 2022, within the Southern District of California, Chance
    23
          Lyedale JOHNSON did knowingly and intentionally import a mixture and substance
    24
    25 containing      a   detectable      amount    of   N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

    26 propanamide (commonly known as fentanyl), a Schedule II Controlled Substance, into the
    27
          United States from a place outside thereof, in violation of Title 21, United States Code,
    28
          Sections 952 and 960.
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 1
                                               COUNT3
 2
           On or about September 11, 2022, within the Southern District of California, Chance
 3

 4 Lyedale JOHNSON did knowingly and intentionally import a mixture and substance
 5
     containing a detectable amount of heroin, a Schedule I Controlled Substance, into the
 6

 7 United States from a place outside thereof, in violation of Title 21, United States Code,
 8   Sections 952 and 960.
 9
           The complainant states that this complaint is based on the attached Statement o
10
11 Facts incorporated herein by reference.
12
13                                              Special Agent Analisa N'5gales
                                                Homeland Security Investigations
14
     Sworn and attested to under oath by telephone, in accordance with Federal Rule o
15
     Criminal Procedure 4.1, this 12th day of September 2022.
16
17
                                                Hon. Allison H. Goddard
18                                              United States Magistrate Judge
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                                 STATEMENT OF FACTS

 2
           On September 11, 2022, at approximately 4:50 AM, Chance Lyedale
 3

 4   JOHNSON, ("JOHNSON"), a United States citizen, applied for entry into the United
 5
     States from Mexico through the San Ysidro POE in vehicle lane #21. JOHNSON
 6

 7   was the driver, sole occupant, and registered owner of a 2009 Ford Taurus ("the

 8
     vehicle") bearing CA license plates 6L0G575.
 9

10         A Customs and Border Protection Officer (CBPO) received two negative
11
     Customs declarations from JOHNSON. JOHNSON stated he was crossing the
12

13
     border to go to San Diego, California.

14
           A CBPO operating the Z-Portal X-Ray machine detected anomalies in the rear
15

16   seats of the vehicle.
17
           A Canine Enforcement Team conducting secondary inspection operations
18

19   responded to a radio call for assistance when the Human and Narcotic Detection Dog
20
     traced an odor to the rear passenger door. Once the door was opened the Human and
21

22
     Narcotic Detection Dog alerted to the rear seats of the vehicle.

23
           Further inspection of the vehicle resulted in the discovery of 84 total packages
24

25   concealed in the rear bumper of the vehicle.      81 of the packages contained a
26
     substance, a sample of which field tested positive for the characteristics of
27

28
                                               1
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 1
     methamphetamine, with a total approximate weight of 39.54 kgs (87.17 lbs.); 1 of

 2   the packages contained a substance, a sample of which field tested positive for the
 3
     characteristics of fentanyl, with a total approximate weight of 1.32 kgs (2.91 lbs.); 2
 4

 5   of the packages contained a substance, a sample of which field tested positive for
 6
     the characteristics of heroin, with a total approximate weight of 1.28 kgs (2.82 lbs.).
 7

 8         JOHNSON was placed under arrest at approximately 7: 10 am.
 9

10
           JOHNSON was arrested and charged with a violation of Title 21, United

II
     States Code, 952 and 960, importation of a controlled substance.
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